  Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 1 of 10




                   Exhibit 1854

Declaration of Lisa J. Cisneros in Support of Plaintiffs’
  Opposition Briefs (“Cisneros”), February 6, 2014,
                            (Dkt. 605)




          (Public - redacted under seal portions)




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Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 2 of 10
Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 3 of 10
Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 4 of 10
Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 5 of 10
Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 6 of 10
Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 7 of 10
Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 8 of 10
Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 9 of 10
Case 5:11-cv-02509-LHK Document 845-12 Filed 04/10/14 Page 10 of 10
